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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 UNITED STATES OF AMERICA

                 Plaintiff,

                v.
                                              No. 08 CR 846
 JON BURGE
                                              Judge Joan Humphrey Lefkow
                 Defendant,

                v.

 EBONY REYNOLDS

                Intervenor

                 PROTECTIVE ORDER FOR MATERIALS
          PRODUCED BY THE UNITED STATES ATTORNEY’S OFFICE

         This matter having been presented to this court by petition filed by intervenor

Ebony Reynolds, and this court having ruled on June 21, 2022, that the United States

Attorney produce transcripts of Michael McDermott’s grand jury testimony pursuant

to the terms of this protective order,

         IT IS ORDERED that transcripts of Michael McDermott’s grand jury

testimony may be disclosed subject to the terms and conditions of this protective

order.

         This protective order applies to all responsive documents identified above. The

protection granted by this order shall encompass the entire disclosure. Any material

containing protected information that is provided to counsel for intervenor is to be

identified on the outside of the sealed parcel containing the protected information
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with a legend stating: “PROTECTED MATERIAL ENCLOSED.” Upon receiving the

protected material, counsel for intervenor is responsible for abiding by the terms and

conditions of this protective order.

      Counsel for the intervenor will be provided with a single copy of protected

material, except as otherwise agreed to by the United States Attorney. The protected

material is only for use in the case entitled People of the State of Illinois v. Ebony

Reynolds, Case No. 96 CR 1959903 (Circuit Court of Cook County). Intervenor’s

attorney may provide one copy of any protected material to the Office of the Special

State’s Attorney only after the Office of the Special State’s Attorney has agreed in

writing to abide by the terms of this protective order, and may otherwise make

additional copies only to be filed with a brief or other document or material to be filed

with the court.

      Disclosure of the material or information contained therein is to be limited to:

(1) the court; (2) counsel for intervenor and any professional, paralegal and clerical

personnel who are engaged in assisting counsel in the case identified in the prior

paragraph; (3) any person not employed by, or under contract with the intervenor

who is retained by the attorneys for the intervenor as a consultant or expert witness

to assist in the cases identified in the prior paragraph; and (4) any other person whom

the court has deemed to be entitled to view the protected material.

      Counsel for Intervenor and/or the Special State’s Attorney are permitted to use

protected material at an evidentiary hearing(s) in Case No. 96 CR 1959903. However,


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no protected material that is incorporated into a brief or as an exhibit to any court

filing shall be filed with the court unless (1) it is filed under seal, or (2) written notice

has been provided to the United States Attorney and the United States Attorney does

not object to the filing. If the United States Attorney objects, then the filing party and

the United States Attorney shall meet and confer, and if unable to resolve the

objection, the matter shall be brought before this court for resolution.

       No protected material may be disclosed to a consultant or expert witness unless

the individual has been designated in writing to the United States Attorney at least

five (5) business days in advance of any disclosure of protected material to such

individual. If objection is timely made, no protected material may be divulged to a

consultant or expert without court approval. Disclosure shall not be made, in any

event, to any consultant or expert unless the consultant or expert has signed a non-

disclosure agreement with the retaining attorney. This non-disclosure agreement

shall, at a minimum, require the individual to abide by the terms of this protective

order and prohibit both the use, and the disclosure, of any information or knowledge

received subject to this protective order except in connection with Case No. 96 CR

1959903.

       Protected material received by counsel for the intervenor, or the information

contained therein, is to be used only for the subject matter of People v. Reynolds, Case

No. 96 CR 1959903. Within fourteen calendar days after a final decision on the merits

in the case identified above, all protected documents in the possession of intervenor’s


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counsel and the Office of the Special State’s Attorney shall be returned to the United

States Attorney, or with the prior written agreement of the United States Attorney,

retained under the terms of this protective order for such period as may be agreed. In

the absence of such agreement and for good cause shown, the brief period for retention

of this material may be extended by order of the court.

      This order does not prevent the United States Attorney from asserting any

other legally cognizable privilege to withhold any document or information. Upon

agreement of the parties, or by further order of court, the terms of this protective

order will apply to subsequently disclosed documents properly marked.

      This order is considered an order of a court of competent jurisdiction for

purposes of the Privacy Act, 5 U.S.C. § 552a(b)(11).

      Any allegations of abuse or violation of this order will be considered by the

court either for purposes of determining whether it should enter sanctions, including

a contempt of court order, or for purposes of determining whether or not the matter

should be referred for appropriate possible disciplinary proceedings, or both.


                                       ENTER:


                                       JOAN HUMPHREY LEFKOW
                                       District Judge
                                       United States District Court
                                       Northern District of Illinois

Date: June 28, 2022



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